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 5
 6                               UNITED STATES DISTRICT COURT

 7                                     DISTRICT OF NEVADA
 8   MARTIN SUNDAY UWAH, an individual,              Case. No.: 2:20-cv-01773-JCM-NJK
 9
                    Plaintiff,
10                                                    STIPULATION AND ORDER TO
             vs.                                      EXTEND THE DEADLINE FOR
11
                                                      PLAINTIFF’S RESPONSE TO
12   LAS VEGAS METROPOLITAN POLICE                    LVMPD DEFENDANTS’ MOTION
     DEPARTMENT; JOSEPH LOMBARDO,                     FOR PARTIAL DISMISSAL
13   individually and in his official capacity as
     Sheriff; KEVIN MENON, individually and           (FIRST REQUEST)
14
     in his capacity as a Las Vegas Metropolitan
15   Police Department Officer; RICARDO
     LOPEZ, individually and in his capacity as a
16   Las Vegas Metropolitan Police Department
     Officer; DOE OFFICERS I - III, individually
17
     and in their capacities as Las Vegas
18   Metropolitan Police Department Officers,

19                  Defendants.
20
21            Pursuant to LR IA 6-1, Plaintiff MARTIN SUNDAY UWAH and Defendants LAS
22   VEGAS METROPOLITAN POLICE DEPARTMENT, JOSEPH LOMBARDO, KEVIN
23   MENON and RICARDO LOPEZ, (collectively “LVMPD Defendants”), by and through their
24   respective counsel, hereby stipulate and request that this Court extend the deadline to file
25   Plaintiff’s Response to LVMPD Defendants’ Motion for Partial Dismissal (ECF No. 6) filed
26   on December 30, 2020 by an additional seven (7) days, extending the deadline from January
27   13, 2021 to January 20, 2021. This is the first stipulation for extension of time for Plaintiff
28   to file his Response.


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 1            This Request for an extension of time is not sought for any improper purpose or
 2   other purpose of delay. This request for extension is based upon the following:
 3            Counsel for Plaintiff initiated this request due to her scheduling conflicts limiting
 4   her ability to timely respond to LVMPD Defendants’ Motion for Partial Dismissal.
 5            WHEREFORE, the parties respectfully request that this Court extend the deadline
 6   to file Plaintiff’s Response to LVMPD Defendants’ Motion for Partial Dismissal (ECF No.
 7   6) filed on December 30, 2020 to up to and including January 20, 2021.
 8            IT IS SO STIPULATED.
 9
     DATED this 11th day of January, 2021.          DATED this 11th day of January, 2021.
10
     MCLETCHIE LAW                                  MARQUIS AURBACH COFFING
11
12
13   /s/ Margaret A. McLetchie                      /s/ Jackie V. Nichols
     Margaret A. McLetchie, NBN 10931               Craig R. Anderson, NBN 6882
14   701 E. Bridger Ave., Suite 520                 Jackie V. Nichols, NBN 14246
15   Las Vegas, NV 89101                            10001 Park Run Drive
     Attorney of Plaintiff                          Las Vegas, Nevada 89145
16   Martin Sunday Uwah                             Attorneys for Defendants Las Vegas
                                                    Metropolitan Police Department, Joseph
17                                                  Lombardo, Kevin Menon and Ricardo Lopez
18
19
                                              ORDER
20
                                             IT IS SO ORDERED.
21
22
23
                                             UNITED STATES DISTRICT COURT JUDGE
24
25
                                             DATED:      January 11, 2021
26
27
28


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